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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )      Criminal No. 6:17-cr-18-GFVT-HAI
                                                   )
 V.                                                )
                                                   )
 MICHELLE SAVAGE,                                  )                     ORDER
                                                   )
         Defendant.                                )
                                                   )

                                       *** *** *** ***

       This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

filed by United States Magistrate Judge Hanly A. Ingram. [R. 29.] The recommendation

instructed the parties to file any specific written objections within three days after being served

with the decision, or else waive the right to further review. [See id. at 3.] Neither party has

objected and the time to do so has now passed. Defendant Savage did file a consent to plead

before the United States Magistrate Judge. [R. 30.]

       Upon review, the Court is satisfied that Defendant Michelle Savage knowingly and

competently pled guilty to the charged offense and that an adequate factual basis supports the

plea as to each essential element of the offense charged. Accordingly, the Court hereby

ORDERS as follows:

       1. Judge Ingram’s Recommendation of Acceptance of Guilty Plea [R. 29] is ADOPTED

           as and for the Opinion of the Court;

       2. Defendant Michelle Savage is ADJUDGED guilty of Count One of the Indictment;

       3. The Defendant’s Jury Trial is CANCELLED; and
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    4. A Sentencing Order shall be entered promptly.

    This the 4th day of August, 2017.




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